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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



  BANCO SAN JUAN INTERNACIONAL, INC.,


  Plaintiff,                                                1:23-cv-06414-JGK

  v.
                                                            ORDER TO SHOW CAUSE FOR
  THE FEDERAL RESERVE BANK OF NEW YORK                      PRELIMINARY INJUNCTION
  AND THE BOARD OF GOVERNORS OF THE                         AND TEMPORARY
  FEDERAL RESERVE SYSTEM                                    RESTRAINING ORDER


  Defendants.



       Upon the Declarations of Abbe D. Lowell, AML RightSource LLC, Francisco Aponte,

Marcelino Bellosta Varady, William M. Isaac, Samson Leung, Christopher Laursen, Héctor J.

Vázquez, James C. Watkins, and Richard J. Wolf, and the accompanying Memorandum of Law in

Support of BSJI’S Motion for Temporary Restraining Order and Preliminary Injunction, and the

attached Complaint, it is

       ORDERED, that the above named defendants show cause before a motion term of this

Court at Room___, United States Courthouse, 500 Pearl Street, in the City, County, and State of

New York, on ________ ___, _____, at _______ o’clock in the ____noon thereof, or as soon

thereafter as counsel may be heard, why an order should not be issued pursuant to Rule 65 of the

Federal Rules of Civil Procedure enjoining the defendants during the pendency of this action from

closing Banco San Juan Internacional, Inc.’s (“BSJI”) master account and terminating BSJI’s

access to the Federal Reserve Bank of New York’s (“FRBNY”) services; and it is further
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        ORDERED that, sufficient reason having been shown therefor, pending the hearing of

plaintiff's application for a preliminary injunction, pursuant to Rule 65, Fed. R. Civ. P., the

defendants are temporarily restrained and enjoined from closing BSJI’s master account and

terminating BSJI’s access to the FRBNY’s services; and it is further

        ORDERED that Defendant’s papers in response to this motion for a temporary restraining

order, if any, shall be served by overnight mail and email on Plaintiff’s counsel, Abbe D. Lowell,

Esq.,   Winston &      Strawn    LLP,   1700 K      Street,   NW,    Washington, DC        20006,

ADLowell@winston.com, on or before 5:00 p.m. on July 26, 2023 and Plaintiff’s reply papers, if

any, shall be served by overnight mail and email on counsel appearing for Defendants on or before

5:00 p.m. on July 28, 2023; and it is further

        ORDERED that Defendant’s papers in response to this motion for a preliminary

injunction, if any, shall be served by overnight mail and email on Plaintiff’s counsel, Abbe D.

Lowell, Esq., Winston & Strawn LLP, 1700 K Street, NW, Washington, DC 20006,

ADLowell@winston.com, on or before 5:00 p.m. on __________, 2023 and Plaintiff’s reply

papers, if any, shall be served by overnight mail and email on counsel appearing for Defendants

on or before 5:00 p.m. on __________, 2023; and it is further

        ORDERED that security in the amount of $__________ be posted by the plaintiff prior to

_____________ ___, ____, at _________ o'clock in the _____ noon of that day; and it is further

        ORDERED that personal service of a copy of this order and annexed affidavit upon the

defendants or their counsel on or before ______ o'clock in the _____ noon, ___________ ____,

_______, shall be deemed good and sufficient service thereof.
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Dated: New York, New York


ISSUED: _______________


                                         ____________________________________
                                                United States District Judge
                                         .
